          Case 2:20-cv-03508-AB Document 50 Filed 09/15/21 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                    :
DIAMONIK HOUGH, et al.,                             :
                              Plaintiffs,           :
                                                    :       Civil Action
                      v.                            :       No. 2:20-cv-03508
                                                    :
CITY OF PHILADELPHIA,                               :
                                                    :
                              Defendants.           :

              STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT

       Plaintiffs and Defendant City of Philadelphia, through their undersigned counsel, hereby

agree that the City of Philadelphia shall have an extension to October 15, 2021 to respond to

Plaintiffs’ Complaint in the captioned matter.

 MARSHALL DENNEHEY WARNER
    COLEMAN AND GOGGIN

                                                              Paul J. Hetznecker/s/
BY:
Joseph J. Santarone, Jr., Esquire                             Paul J. Hetznecker, Esquire
John P. Gonzales, Esquire                                    1420 Walnut Street, Suite 911
Attorney ID No. 45723/71265                                  Philadelphia, PA 19102
2000 Market Street, Suite 2300                               (215) 893-9640 (Phone)
Philadelphia, PA 19103                                       E-mail: phetznecker@aol.com
P: (215) 575-2626/(215) 575-2871                             Attorney for Plaintiff
F: (215) 575- 0856                                           Diamonik Hough
E-mail: jjsantarone@mdwcg.com
jpgonzales@mdwcg.com
Attorney for Defendant,
City of Philadelphia
           Case 2:20-cv-03508-AB Document 50 Filed 09/15/21 Page 2 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                                       :
DIAMONIK HOUGH, et al.,                                :
                               Plaintiffs,             :
                                                       :       Civil Action
                       v.                              :       No. 2:20-cv-03508
                                                       :
CITY OF PHILADELPHIA,                                  :
                                                       :
                               Defendants.             :

                                         ORDER
       AND NOW, this ___________ day of __________________, 2021, upon consideration

of the Stipulation executed by counsel to Plaintiffs, it is hereby:

       ORDERED and DECREED that Defendants shall have until October 15, 2021 to file a

response to the Complaint.


                                               BY THE COURT:

                                               __________________________________
                                                                             J.
